      Case: 1:19-cv-06216 Document #: 30 Filed: 05/06/20 Page 1 of 2 PageID #:96




                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

CENTRAL STATES, SOUTHEAST AND                     )
SOUTHWEST AREAS HEALTH AND                        )
WELFARE FUND;                                     )
and CHARLES A. WHOBREY, as Trustee,               )     Case No. 19-cv-6216
                                                  )
                          Plaintiffs,             )     Judge Virginia M. Kendall
                 v.                               )
                                                  )     Magistrate Judge Gabriel A. Fuentes
FIRST STUDENT, INC.,                              )
a Delaware corporation,                           )
                                                  )
                          Defendant.              )
                                   STIPULATION OF DISMISSAL

        Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, Plaintiffs, Central

States, Southeast, and Southwest Areas Health and Welfare Fund and Charles A. Whobrey,

Trustee, and Defendant, First Student, Inc., each stipulate and agree that all claims in this case

shall be dismissed, without prejudice, with each party to bear its own attorneys’ fees and costs.


 Respectfully submitted,

 /s/ Frank Blechschmidt                               /s/ Lavanga V. Wijekoon (with consent)
 Frank Blechschmidt (ARDC #6308606)                   Lavanga V. Wijekoon
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TM: 592973/ 19310003 / 5/6/2020
      Case: 1:19-cv-06216 Document #: 30 Filed: 05/06/20 Page 2 of 2 PageID #:97




                                   CERTIFICATE OF SERVICE

        I, Frank Blechschmidt, one of the attorneys for Plaintiffs, certify that on May 6, 2020, I

caused the foregoing Stipulation of Dismissal to be filed electronically. This filing was served on

all parties listed on the electronic filing receipt via the Court’s electronic filing system.



                                                    Respectfully submitted,

                                                    /s/ Frank Blechschmidt
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                                                    Attorney for Plaintiffs




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